Case 1:20-cv-01204-GLS-ATB Document 23 Filed 02/11/21 Page 1 of 2

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

 

Sherry Russell, Individually, and on behalf

of All Others Similarly Situated, ECF Case
Plaintiff, No. 1:20-cv-1204-GLS-ATB
- against - STIPULATION OF VOLUNTARY

DISMISSAL PURSUANT TO FEDERAL
Healthalliance Hospital Broadway Campus, RULE OF CIVIL PROCEDURE
and Ciox Health, LLC, 41(a)(1)(A)(ii)

Defendants.

 

 

IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff Sherry
Russell, individually and on behalf of all those similarly situated, and Defendants Healthalliance
Hospital Broadway Campus and Ciox Health, LLC, pursuant to Federal Rule of Civil Procedure
41(a)(1)(A)(ii), and whereas no party hereto is an infant or incompetent, that the above-captioned
action is voluntarily dismissed with prejudice, with each party to bear its own attorney’s fees and
costs. Plaintiff Sherry Russell expressly reserves all rights in connection with the pending medical
malpractice action venued in Ulster County Supreme Court, entitled Russell v. Madden, et al.,
Index No. EF2020-2258. This stipulation does not apply to Russell v. Madden. et al. or release

HealthAlliance Hospital Broadway Campus as a defe in that action.

  
  

Dated: February 11, 2021

 

 

 

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Case 1:20-cv-01204-GLS-ATB Document 23 Filed 02/11/21 Page 2 of 2

s/ Daniel Gagliardi

 

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